Clewell Sykes and Katherine N. Sykes, Petitioners, v. Commissioner of Internal Revenue, RespondentSykes v. CommissionerDocket No. 51063United States Tax Court24 T.C. 1156; 1955 U.S. Tax Ct. LEXIS 86; September 30, 1955, Filed *86 Decision will be entered for the respondent.  One of the petitioners was invited to attend an annual function of a club. A portion of the program consisted of a drawing for prizes, the grand prize consisting of a new automobile.  Petitioner received a ticket entitling him to attend the function and participate in every part of the program scheduled.  Petitioner did not pay for such ticket, but a member of the club, his host, had paid for it.  At the drawing, petitioner won the grand prize.Held, since a consideration had been paid for the right of petitioner to participate in the drawing, he realized income measured by the fair market value of the automobile won. Max Silver, 42 B. T. A. 461, followed.  Fred L. Rosenbloom, Esq., and Thomas P. Glassmoyer, Esq., for the petitioners.Stanley W. Herzfeld, Esq., for the*87  respondent.  Raum, Judge.  RAUM*1157  The respondent has determined a deficiency in the income tax of the petitioners for the calendar year 1950 in the amount of $ 1,125.58.  Certain minor adjustments have not been challenged by the petitioners.  The sole issue, involving $ 1,100.58 of the above deficiency, is whether the value of a 1950 Chevrolet automobile won by one of the petitioners at a drawing constituted taxable income.FINDINGS OF FACT.A stipulation of facts filed by the parties is incorporated herein by this reference as a part of our findings.Petitioners are husband and wife, residing in Philadelphia, Pennsylvania.  They filed a joint income tax return in respect of the calendar year 1950 with the collector of internal revenue for the first district of Pennsylvania at Philadelphia, Pennsylvania.Clewell Sykes (hereinafter called petitioner) has been president of the Yellow Cab Company of Philadelphia since 1944.  In 1950 he had not been in Philadelphia for a long time.  He was interested for both social and business reasons in meeting local persons of prominence.The Poor Richard Club of Philadelphia is a men's advertising club. It holds its annual dinner on the*88  17th of January, the anniversary of the birth of Benjamin Franklin.  Each year at the dinner the club awards its Gold Medal of Achievement to one who has been selected as an outstanding American worthy of such recognition.  Paul G. Hoffman, then United States Economic Cooperation Administrator, had been chosen to receive the 1950 award, and was expected to attend the dinner as guest of honor.On or about December 17, 1949, announcements were sent by the club to its members to the effect that the 1950 dinner would be held on January 17, 1950, at 7 p. m. in the Bellevue-Stratford Hotel in Philadelphia.  The announcements also summarized the program planned for the evening, and imparted other pertinent information, including the price of tickets and method of procuring reservations. Tickets were priced at $ 12.50 for members and $ 17.50 for nonmembers.  Only members could purchase tickets. Those members making reservations were required to pay for their tickets before such tickets would be issued.Petitioner was not a member of the club, and had never before attended one of its annual dinners. However, William Hinderscheid, of the Lee Tire and Rubber Company of Conshohocken, Pennsylvania, *89  who was a member, invited petitioner to attend. This invitation was oral and informal and given a few days before the affair.  Petitioner never saw the announcement sent by the club to its members, and had no advance knowledge of the program planned for the evening. He knew only that it was the annual dinner of the Poor Richard Club, *1158  the date, time, and place of the dinner, and that Paul G. Hoffman was to receive the club's annual award.Petitioner had known and admired Paul G. Hoffman.  Petitioner was also aware that many prominent persons would be present at the dinner. In addition, it was his practice as president of the Yellow Cab Company to attend as many such functions as he could.  The above factors motivated petitioner to accept the invitation proffered him by William Hinderscheid.  Neither the Yellow Cab Company nor any of its affiliates had at that time, as far as petitioner knows, done any business with the Lee Tire and Rubber Company.  No such business was subsequently done, until on or about July 1, 1954, when a subsidiary of the Yellow Cab Company entered into a contract with the Lee Tire and Rubber Company respecting the supplying of tires for approximately*90  50 taxicabs.As a result of the foregoing, petitioner attended the 1950 annual dinner of the Poor Richard Club as the guest of Mr. Hinderscheid.  He received a ticket from his host which he put into his pocket.  Petitioner did not pay or give or do anything as consideration for such ticket, but it had been bought and paid for by a member.  The ticket consisted of a card about 10 inches in length and 3 inches in width, having three removable perforated "coupons" or detachable sections.  One of these sections was to be surrendered to the waiter during the meal.  A second was to be detached in exchange for the "Souvenir Bag" to be presented to each person attending the dinner, and the third was to be held for the drawing for prizes planned as part of the evening's program.  Petitioner gave no more than a cursory glance when he received the ticket and did not consciously read or notice the purposes of the various sections thereof.At each plate in the dining room there was a booklet containing the program for the evening. The fact that a drawing for prizes was to take place and a description of the prizes to be awarded were included.  Particular emphasis was placed upon the first prize, *91  a new 1950 Chevrolet convertible coupe.  Petitioner, however, was not especially interested in that part of the program, and did no more than skim disinterestedly through the pages of the booklet. He took no active notice of the fact that an automobile was to be awarded that evening as one of the prizes in a drawing.Immediately after the meal, the drawings were held.  The number on the ticket held by petitioner was selected as the winning number in the drawing for the 1950 Chevrolet.  The prize was then, accordingly, awarded to petitioner.  The above automobile had been previously placed in the lobby of the hotel with a sign upon it indicating the fact that it would be awarded as a prize at a drawing at the club dinner. Petitioner did not pay any particular attention to that display when entering the hotel. Prior to the time the commencement *1159  of the drawing was announced petitioner had been ignorant of the fact that there was to be a drawing, and of the nature of the prizes.The Poor Richard Club did not purchase or pay for any of the prizes awarded to the winners at its 1950 annual dinner. All such prizes had been furnished gratuitously by various business concerns, *92  the names of which appeared in the booklet placed at each plate on the dining room tables.Petitioner has at no time given any testimonial to General Motors or otherwise, nor ever endorsed any product, in connection with the winning of the Chevrolet.  Petitioner himself never gave anything of value either for the ticket, or in connection with winning the automobile.Immediately after winning the automobile, petitioner donated it to the Young Women's Christian Association, which, in turn, sold it for the sum of $ 1,968.  This amount has been stipulated as its true fair market value as of January 17, 1950.  Such amount was claimed by petitioner in his return as a charitable deduction, and allowed as such by the respondent.  However, petitioner did not include any sum in his gross income in respect of the winning of such automobile.  Respondent has added to petitioner's gross income the sum of $ 1,968, representing its agreed fair market value.OPINION.Section 74 of the Internal Revenue Code of 1954 treats all prizes and awards, with certain exceptions not material here, as taxable income. These provisions, however, are prospective only, and it remains for the courts to attempt to *93  apply the principles recognized under earlier law with respect to prior years.  At times, some rather fine lines have been drawn, and in Ray W. Campeau, 24 T.C. 370"&gt;24 T. C. 370, we undertook an analysis of some of the decisions in this field.The present controversy, in our opinion, falls within the line of cases characterized by Max Silver, 42 B. T. A. 461, and Reynolds v. United States, 118 F. Supp. 911"&gt;118 F. Supp. 911 (N. D., Cal.).  In the Reynolds case a newspaper conducted a "Lucky 49er" sweepstakes, open only to subscribers. No additional payment was required of subscribers wishing to participate.  Unknown to the taxpayer, a subscriber, his maid entered his name in the sweepstakes, and he won an automobile.  The District Court held that the value of the automobile was income to him.Although the petitioner herein paid no consideration for the ticket, nevertheless, as donee of one who did pay a consideration, he stands in no better tax position.  Upon winning and receiving the prize he realized taxable income to the same extent as would his donor. In *1160 Max Silver, supra,*94  the taxpayer was held to have received taxable income when he won a sum of money as the holder of a sweepstakes ticket which he had received from a friend as a gift. As in the Silver case, petitioner in the instant proceeding received as a gift not the prize won, but a certificate entitling him to a chance to win a prize. The entire ticket received by petitioner cost his donor $ 17.50.  Some part of that sum is allocable to the right to participate in the drawing. When his number was chosen, he realized taxable income, as did the taxpayer in the Silver case.We think that the Reynolds and Silver cases are closer to the present case than the decisions relied upon by petitioner, Pauline C. Washburn, 5 T.C. 1333"&gt;5 T. C. 1333, and Bates v. Glenn, 114 F. Supp. 445"&gt;114 F. Supp. 445 (W. D., Ky.), affirmed 217 F. 2d 535 (C. A. 6), in neither of which was there thought to be any "investment" comparable to the purchase of the ticket in the present case.  The determination of the respondent must be approved.  1*95 Decision will be entered for the respondent.  Footnotes1. In the Silver↩ case, the taxpayer was permitted to subtract the cost of the sweepstake ticket from the amount won. In the present case, neither the pleadings nor petitioners' brief raise any such issue, and since we have no evidence before us that would enable us to determine what part of the $ 17.50 paid for the ticket in this case was allocable to the lottery, the Commissioner's determination must be approved in full.